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6
7
8
                               UNITED STATES DISTRICT COURT
9
                               EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,)           CASE NO. 1: 05 CR 00161 OWW
                              )
13                            )
                Plaintiff,    )           STIPULATION AND ORDER
14                            )           TO CONTINUE STATUS
            vs.               )           HEARING
15                            )
     GILDA ROSALES,           )
16                            )
                              )
17              Defendant.    )
                              )
18
19          THE PARTIES HEREBY STIPULATE AND AGREE that the status hearing
20   presently set for Monday, April 9, at 9:00 a.m., be continued to
21   Monday June 11, 2007, at 1:30 p.m.
22          In this matter, co-defendant Oscar Rosales, husband of Gilda
23   Rosales, has plead guilty and is pending sentencing. After
24   defendant Oscar Rosales is sentenced, the matter of Gilda Rosales
25   will be dismissed. Sentencing for Oscar Rosales is being continued
26   to June 11, 2007, at 1:30 p.m.
27   //
28   //
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1         Pursuant to Federal Rules of Criminal Procedure section 18
2    U.S.C. 3161, the parties agree that any delay resulting from this
3    continuance shall be excluded in the interest of justice.
4    Dated: March 29, 2007.                    /s/ DAVID BALAKIAN
                                               David Balakian,
5                                              Attorney for Defendant,
                                               GILDA ROSALES
6
7    Dated: March 29, 2007.                    /s/ KAREN ESCOBAR
                                               Karen Escobar,
8                                              Assistant U.S. Attorney.
9                                              Stipulation has been agreed to
                                               by Ms. Escobar.
10
11
                                        ORDER
12
          Good cause having been shown, the status hearing presently set
13
     for Monday, April 9, at 9:00 a.m., shall be continued to Monday
14
     June 11, 2007, at 1:30 p.m.
15
          Pursuant to Federal Rules of Criminal Procedure section 18
16
     U.S.C. 3161, any delay resulting from this continuance shall be
17
     excluded in the interest of justice.
18
19   IT IS SO ORDERED.
20   Dated: March 29, 2007                 /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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